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                   UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIR E


United States of America

              V.                        Case No . 02-cr-153-12-13-14-15-S M

Corey Fleischer, Joyce Goodlin,
Rita Kajoyan, Deborah Wasserman

                                    ORDER

       Defendant Goodlin's motion to continue the final pretrial conference an d

trial is granted (document 352) . Trial has been rescheduled for the November

2007 trial period . Defendant Goodlin shall file a waiver of speedy trial rights

not later than September 7, 2007 . Upon filing of such waiver, her continuance

shall be effective .

       The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S .C . § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances .

       Final Pretrial Conference : October 30, 2007 at 3 :00 p .m .

       Jury Selection : November 6, 2007 at 9 :30 a .m.
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      SO ORDERED .




                                        teven J/McAuliffe
                                       Chief Judge

August 23, 200 7

cc : Paul Maggiotto, Esq .
       David Vicinanzo, Esq.
       Michael Sheehan, Esq .
       Andrew Schulman, Esq .
       Don Feith, AUS A
       US Probation
       US Marshal




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